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                    United States Court of Appeals
                                 FIFTH CIRCUIT
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                            November 15, 2024


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    No. 24-30706       Roake v. Brumley
                       USDC No. 3:24-CV-517


To all,
Attached is a revised case caption, which should be used on all
future filings in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk




                                 By: _________________________
                                 Angelique B. Tardie, Deputy Clerk
                                 504-310-7715
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                            Case No. 24-30706




Darcy Roake, Reverend, on behalf themselves and on behalf of
their minor children, real party in interest A.V., real party in
interest S.V.; Adrian Van Young, on behalf of themselves and on
behalf of their minor children, real party in interest A.V.,
real party in interest S.V.; Mamie Broadhurst, Reverend, on
behalf of themselves and on behalf of their minor child, real
party in interest N.W.; Richard Williams, Reverend, on behalf of
themselves and on behalf of their minor child, real party in
interest N.W.; Jeff Sims, Reverend, on behalf of himself and on
behalf of his minor children, real party in interest A.S., real
party in interest C.S. 1, real party in interest C.S. 2;
Jennifer Harding, on behalf of themselves and on behalf of their
minor child, real party in interest A.O.; Benjamin Owens, on
behalf of themselves and on behalf of their minor child, real
party in interest A.O.; David Hawley, on behalf of themselves
and on behalf of their minor children real party in interest
A.H., real party in interest L.H.; Erin Hawley, on behalf of
themselves and on behalf of their minor children, real party in
interest A.H, real party in interest L.H.; Dustin McCrory, on
behalf of themselves and on behalf of his minor children, real
party in interest E.M.; real party in interest P.M., real party
in interest L.M.; Gary Sernovitz, on behalf of themselves and on
behalf of their minor child, real party in interest T.S.; Molly
Pulda, on behalf of themselves and on behalf of their minor
child. real party in interest T.S.; Christy Alkire, on behalf of
herself and on hehalf of her minor child, real party in interest
L.A.; Joshua Herlands, on behalf of himself and on behalf of his
minor children, real party in interest E.H., real party in
interest J.H.,
                       Plaintiffs - Appellees
v.
Cade Brumley, in his official capacity as the Louisiana State
Superintendent of Education; Conrad Appel, in his official
capacity as a member of the Louisiana State Board of Elementary
and Secondary Education (LSBESE); Judy Armstrong, in her
official capacity as a member of the LSBESE; Kevin Berken, in
his official capacity as a member of the LSBESE; Preston
Castille, in his official capacity as a member of LSBESE; Simone
Champagne, in her official capacity as a member of the LSBESE;
Sharon Latten-Clark, in her official capacity as a member of the
LSBESE; Lance Harris, in his official capacity as a member of
LSBESE; Paul Hollis, Louisiana State Board of Elementary and
Secondary Education; Sandy Holloway, in her official capacity as
a member of the LSBESE; Stacey Melerine, in her official
capacity as a member of the LSBESE; Ronnie Morris, in his
official capacity as a member of the LSBESE; East Baton Rouge
Parish School Board; Livingston Parish School Board; Vernon
Parish School Board; St. Tammany Parish School Board,
                       Defendants - Appellants
